           Case 2:21-cv-01005-ER Document 25 Filed 06/29/21 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ROLANDO CAMUNAS,
                                     Plaintiff, Civil Action No.: 2:21-cv-01005-ER
                 v.


 NATIONAL REPUBLICAN SENATORIAL
 COMMITTEE,
                                   Defendant.


       DEFENDANT NATIONAL REPUBLICAN SENATORIAL COMMITTEE’S
       MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

        Defendant National Republican Senatorial Committee (“NRSC”), by its undersigned

counsel, hereby moves this Court, pursuant to Federal Rule 12(b)(6), for an Order dismissing

Plaintiff Rolando Camunas’s (“Plaintiff”) Second Amended Complaint for failure to state a claim.

The grounds for this Motion are set forth in the accompanying Memorandum of Law, which is

incorporated by reference.


Date: June 29, 2021                         Respectfully submitted,
                                            /s/ Jeffrey N. Rosenthal
                                            BLANK ROME LLP
                                            Jeffrey N. Rosenthal
                                            One Logan Sq., 130 N. 18 th St.
                                            Philadelphia, PA 19103
                                            Telephone: (215) 569-5553
                                            Facsimile: (215) 832-5553
                                            Rosenthal-j@BlankRome.com

                                            -and-

                                            HOLTZMAN VOGEL BARAN
                                            TORCHINSKY JOSEFIAK PLLC



161507.00601/126237409v.1
           Case 2:21-cv-01005-ER Document 25 Filed 06/29/21 Page 2 of 2




                                      Jason B. Torchinsky (admitted pro hac vice)
                                      Jonathan P. Lienhard (admitted pro hac vice)
                                      Dallin B. Holt (admitted pro hac vice)
                                      15405 John Marshall Hwy
                                      Haymarket, VA 20169

                                      Attorneys for National Republican Senatorial
                                      Committee




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161507.00601/126237409v.1
